     Case 2:16-cv-06941-GW-GJS Document 1 Filed 09/15/16 Page 1 of 4 Page ID #:1



1 GREENBERG TRAURIG, LLP
2 Robert J. Herrington (SBN 234417)
  Email: herringtonr@gtlaw.com
3 Robert S. Freund (SBN 287566)
4 Email: freundr@gtlaw.com
  1840 Century Park East, Suite 1900
5 Los Angeles, CA 90067
6 Telephone: (310) 586-7700
  Facsimile: (310) 586-7800
7 Attorneys for Defendant,
8 RENTOKIL NORTH AMERICA, INC.
9
10                                  UNITED STATES DISTRICT COURT

11             CENTRAL DISTRICT OF CALIFORNIA—WESTERN DIVISION

12    VAHE MESSERLIAN, on behalf of            CASE NO. 2:16-cv-6941
      himself and all others similarly
13                                             NOTICE OF REMOVAL OF ACTION
      situated,
14                                             UNDER 28 U.S.C. §§ 1331
                       Plaintiff,              (Federal Question)
15
      v.
16
17    RENTOKIL NORTH AMERICA,
      INC., formerly known as J.C.             ACTION FILED:    June 27, 2016
18    Ehrlich Co., Inc. (d/b/a Western
19    Exterminator Company), and DOES          ACTION SERVED: August 19, 2016
      1 through 100, inclusive,
20
21                     Defendants.

22
23
24
25
26
27
28

                                         NOTICE OF REMOVAL
     PHX 331801352v1
     Case 2:16-cv-06941-GW-GJS Document 1 Filed 09/15/16 Page 2 of 4 Page ID #:2



 1           PLEASE TAKE NOTICE that Defendant Rentokil North America, Inc.
 2 (“Rentokil”) hereby removes the above-captioned action, VAHE MESSERLIAN, on
 3 behalf of himself and all others similarly situated, v. RENTOKIL NORTH AMERICA,
 4 formerly known as J.C. Ehrlich Co., Inc. (d/b/a Western Exterminatory Company), and
 5 DOES 1 through 100, inclusive, Case No. BC 625133 (the “Action”), from the California
 6 Superior Court for the County of Los Angeles to the United States District Court for the
 7 Central District of California (Western Division), pursuant to 28 U.S.C. § 1331(a), and
 8 28 U.S.C. § 1367. Rentokil hereby provides “a short and plain statement of the grounds
 9 for removal” pursuant to 28 U.S.C. § 1446 (a).
10                THIS COURT HAS FEDERAL QUESTION JURISDICTION AND
11                                  SUPPLEMENTAL JURISDICTION
12           1.        This action is a civil action for which this Court has original jurisdiction
13 under 28 U.S.C. § 1331, and is one which may be removed pursuant to 28 U.S.C. §
14 1441(a), in that it appears from the Complaint that Plaintiff has filed an action involving
15 a claim or right arising under the laws of the United States. A copy of the Summons and
16 Complaint is attached hereto as Exhibit A.
17           2.        More specifically, the Complaint alleges that Rentokil “sen[t] unsolicited
18 advertisements to the telephone facsimile numbers of persons and entities, including
19 Plaintiff” in violation of the federal Telephone Consumer Protection Act (“TCPA”), 47
20 U.S.C. § 227 et seq. (Exhibit A, Compl. ¶¶ 1-5, 27-42.) Plaintiff seeks, among other
21 things, statutory damages under the TCPA. (Id. at Prayer for Relief.) See Mims v. Arrow
22 Fin. Servs., LLC, 132 S. Ct. 740, 745 (2012) ( “[F]ederal and state courts have concurrent
23 jurisdiction over private suits arising under the TCPA.”).
24           3.        Additionally, this Court has supplemental jurisdiction over the single state-
25 law claim alleging violation of the California Business & Professions Code, Section
26 17538.43. (Exhibit A, Compl. ¶¶ 43-56.) Pursuant to 28 U.S.C. § 1367(a): “[i]n any
27 civil action of which the district courts have original jurisdiction, the district courts shall
28 have supplemental jurisdiction over all other claims that are so related to claims in the
                                                1
                                           NOTICE OF REMOVAL
     PHX 331801352v1
     Case 2:16-cv-06941-GW-GJS Document 1 Filed 09/15/16 Page 3 of 4 Page ID #:3



 1 action within such original jurisdiction that they form part of the same case or
 2 controversy under Article III of the United States Constitution.” That is the case here.
 3 Plaintiff’s state-law claim under the California Business & Professions Code arises out of
 4 the same alleged sending of “unsolicited advertisements” via facsimile. (Id. ¶ 47
 5 (“Through the use of telephone facsimile machine(s), computer(s), and or other devices,
 6 Defendants sent or caused to be sent to the telephone facsimile number(s) of Plaintiff and
 7 the Subclass one or more unsolicited advertisements.”).) Accordingly, this Court has
 8 supplemental jurisdiction over Plaintiff’s derivative state-law claim.
 9                                                 VENUE
10           4.        The instant Action was filed in the Superior Court of the State of California
11 for the County of Los Angeles. Venue properly lies in the United States District Court
12 for the Central District of California, Western Division, pursuant to 28 U.S.C. §§ 84(a),
13 1391(a), and 1441(a).
14                       SERVICE ON THE STATE COURT AND PLAINTIFF
15           5.        Pursuant to 28 U.S.C. § 1446(d), contemporaneously with the filing of this
16 Notice of Removal in the United States District Court for the Central District of
17 California, written notice of such filing will be given by the undersigned to Plaintiff’s
18 counsel of record and a copy of the Notice of Removal will be filed with the Clerk of the
19 Los Angeles County Superior Court.
20                     COMPLIANCE WITH STATUTORY REQUIREMENTS
21           6.        In accordance with 28 U.S.C. § 1446(a), true and correct copies of the
22 remainder of the pleadings, process, and orders served upon Rentokil are attached hereto
23 as Exhibit B.
24                                        REMOVAL IS TIMELY
25           7.        On June 27, 2016, Plaintiff filed the Action. Rentokil executed and returned
26 the Notice and Acknowledgment of Receipt on August 19, 2016. This Removal is timely
27 pursuant to 28 U.S.C. § 1446(d).
28
                                                       2
                                          NOTICE OF REMOVAL
     PHX 331801352v1
     Case 2:16-cv-06941-GW-GJS Document 1 Filed 09/15/16 Page 4 of 4 Page ID #:4



 1                                             NO ADMISSION
 2           8.        Rentokil does not concede in any way that the allegations in Plaintiff’s
 3 pleading are accurate, or that Plaintiff is entitled to compensatory or statutory damages,
 4 restitution, attorney fees, or any other relief.
 5           9.        The undersigned counsel for Rentokil has read the foregoing and signs the
 6 Notice of Removal pursuant to Rule 11 of the Federal Rules of Civil Procedure, as
 7 required by 28 U.S.C. § 1446(a).
 8
 9           WHEREFORE, the Action is hereby removed to this Court from the Superior
10 Court of the State of California, County of Los Angeles.
11
12                                               Respectfully submitted,
13 DATED: September 15, 2016                     GREENBERG TRAURIG, LLP
14
15                                        By     /s/ Robert J. Herrington
                                                 Robert J. Herrington
16                                               Attorneys for Defendant,
17                                               RENTOKIL NORTH AMERICA, INC.

18
19
20
21
22
23
24
25
26
27
28
                                                       3
                                          NOTICE OF REMOVAL
     PHX 331801352v1
